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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

In re: BAIR HUGGER FORCED AIR                           MDL No. 15-2666 (JNE/DTS)
WARMING DEVICES PRODUCTS                                ORDER
LIABILITY LITIGATION

This Document Relates to All Actions

       In a recently filed Joint Status Update and Proposed Agenda for Requested

Conference, the parties requested a status conference. The Court holds the request in

abeyance. The Court appoints the Honorable Arthur Boylan, United States Magistrate

Judge, retired, as mediator in this case. The parties shall contact Judge Boylan at

BoylanADR@gmail.com to schedule any mediation sessions that he deems appropriate in

this multidistrict litigation. The parties shall cooperate with him in scheduling and

attending the mediation sessions. The fees and expenses of Judge Boylan, as mediator,

shall be paid as follows: Plaintiffs – 50 percent, and Defendants – 50 percent. Judge

Boylan will be paid at the rate of $600 per hour, plus expenses. Judge Boylan shall deal

directly with the parties to establish how any periodic billing he may make shall be

handled.

       IT IS SO ORDERED.

Dated: February 2, 2022
                                                        s/Joan N. Ericksen
                                                        JOAN N. ERICKSEN
                                                        United States District Judge
